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FILED

FEB 3: 2002

UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA Qi
5 ‘“SLERR

CENTRAL DIVISION
SOUTH DAKOTA FARM BUREAU, } Civ. No. 99-3018 CBK
INC.; SOUTH DAKOTA SHEEP )
GROWERS ASSOCIATION, INC.; }
HAVERHALS FEEDLOT, INC.; }
SJOVALL FEEDYARD, INC.; )
FRANK D. BROST; DONALD TESCH; }
WILLIAM A. AESCHLIMANN; }
SPEAR H. RANCH, INC.; MARSTON
HOLBEN; MARSTON AND MARIAN
HOLBEN FAMILY TRUST; MONTANA-
DAKOTA UTILITIES CO.;
NORTHWESTERN PUBLIC SERVICE;
and OTTER TAIL POWER COMPANY,

Plaintiffs,
DEFENDANTS HAZELTINE

AND BARNETT
POST-TRIAL BRIEF

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Vv. }
}

JOYCE HAZELTINE, in her )
official capacity as Secretary)
of State of South Dakota, and }
MARK W. BARNETT, in his )
official capacity as Attorney })
General of South Dakota, )
}

Defendants, }

)

and )
)

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DAKOTA RURAL ACTION and SOUTH
DAKOTA RESOURCES COALITION,

Defendant-Intervenors.

‘Defendants Hazeltine and Barnett (hereinafter "the State")
submit that the evidence in this case does not demonstrate beyond

a reasonable doubt’ that Sections 21 through 24 of Article XVII

1 Knowles v. United States, 829 F. Supp. 1147 (D.S.D. 1993},

aff'd in part, 29 F.3d 1261 (8th Cir. 1994), rev'd in part, 91
F.3d 1147 (8th Cir. 1996); American Meat Institute v. Barnett, 64

F, Supp. 2d 906 (D.S.D. 1999).

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of the South Dakota Constitution, commonly referred to as
"Amendment E," are in violation of the United States Constitution
(commerce clause, equal protection, and process claims) .”

I. Plaintiffs! Claims Do Not Meet Article III Requirements.

Before a federal court has jurisdiction under Article III, a

case or controversy must be presented. Reno v Catholic Social

Services, Inc., 509 U.S. 43, 57 (1993); Abbott Laboratories v.

Gardner, 387 U.S. 136, 148 (1967). “[A] real, substantial
controversy between parties having adverse legal interests, a
dispute definite and concrete, not hypothetical or abstract" is

required. Babbitt v. United Farm Workers National Union, 442

U.S. 289, 298 (1979).

Plaintiffs have not met these requirements. First,
Plaintiff Farm Bureau ("FB") presented no evidence of direct or
tangible harm. FB does not farm or own farmland. Its claims
concern alleged harm caused to its members. Mike Held, an
executive with FB and its only witness, gave three examples of
"concern" to FB. T 23-25. One involved joint ownership of
machinery by a group of neighbors. T 23. Held did not explain
the name or nature of the business organization and stated that

he is "not qualified to interpret whether [t]his business

2 During the course of trial, Plaintiffs submitted evidence
regarding alleged damages. Plaintiffs stated at trial that this
evidence was submitted only to substantiate alleged harm, and was
not in support of a claim of taking without just compensation in
violation of the Fifth Amendment of the U.S. Constitution.

T 432. This is consistent with Plaintiffs' Amended Complaint,
which makes no claim for a taking.
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structure is in compliance" with Amendment E. T 39. This
business entity is not a party to this proceeding.’

The second example was a livestock finishing scenario where
neighbors would divide up the different facets of raising the
same livestock (breeding, raising feeders, finishing). T 24,
Although testimony was offered that each of these neighbors would
be family farmers, the organizational structure was not
described, and these entities are not parties. T 40.

In addition, FB asserted that Amendment E harms those who
feed livestock on a contract basis. T 24-25, No specific
contract was identified. Held testified that the evidence of
such harm would be provided by other parties. T 27, However, no
other party testified as a FB member.

FB did not demonstrate that Amendment E directly or tangibly

harmed it or its members. Under Lujan v.._ Defenders of Wildlife,

504 U.S. 555, 560 (1992), Plaintiffs must show "injury in fact,"
evidence that invasion of its own interests are (a) concrete and
particularized and (b) result in actual or imminent harm. Lujan,
504 U.S. at 560. The law requires that "the party seeking review

be himself among the injured." Sierra Club v Morton, 405 U.S.

727, 734-735 (1972). FB must show that "it or its members would
be affected" apart from their "special interest" in the subject.

Id. at 735, 739. FB has not done so,

* Indeed, even if the joint enterprise was a nonfamily
corporation, it would not be barred by Amendment E if it was
organized solely for the ownership of equipment (and not farming
or ownership of livestock) .
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South Dakota Sheep Growers ("SG") also do not meet standing
reguirements. Aeschlimann testified both as a member of SG and
individually. T 136, 142. None of his testimony established
that Amendment E has in fact injured SG. T 130-31.

The "feedlot" Plaintiffs--Haverhals, Sjovall, Tesch, and
Aeschlimann--have also not met the standing requirements. Two of
these businesses operate as corporations (Haverhals Feedlot,
Inc., Sjovall Feedyard, Inc.), but are exempt from Amendment E
under the family farm exemption: Section 22(1). They live on the
facility and a family member provides substantial day-to-day
labor and management. T 163, 173, 197, 198, 201.

These Plaintiffs testified that their suppliers or customers
included business entities that might be in violation of
Amendment E. T 133-34, 167, 169, 202. While these Plaintiffs
may do business with those in who are in violation of
Amendment HE, they cannot assert the legal rights of those third
parties. Allen v. Wright, 468 U.S, 737, 751 (1984).

Plaintiff Tesch, an individual, operates currently under a
production contract with Harvest States Cooperative. T 180;

Exh. 64, That contract is "grandfathered" under Amendment E
(Section 22(5)). Tesch continues to receive new stock under this
contract on a periodic basis. T1900. However, renewal of that
contract is not grandfathered, and Harvest States Cooperative
(not Tesch) would need to qualify (if it can) under Amendment E's
cooperative exemption in Section 22(2) in order to renew the
contract. Tesch cannot bring claims of Harvest States. Allen,

468 U.S. at 751.
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Plaintiff Brost filed this suit individually. He is
involved in Brost Land and Cattle Co., Inc., which was
incorporated in 1979. T 64. This corporation can continue to
own the farm/ranch land it owned prior to Amendment E, but cannot
purchase additional land or livestock. Sections 21 and 22 (4).
Brost Land and Cattle Co. ig not a party. Plaintiff Brost is an
individual and does not have standing to raise these issues on
behalf of Brost Land and Cattle Co., Inc. Allen, 468 U.S. at
751.

Brost filed articles of incorporation for two entities after
Amendment E was passed. Under SDCI, 47-2-3, corporations may be
organized for "any lawful purpose." Since these entities were
organized under a structure prohibited under the state constitu-
tion (Amendment E), they were not lawfully formed. Again, Brost
does not have standing to raise any issues with Amendment E that
these corporations may have. Allen, 468 U.S. at 751.

Plaintiff Spear H. Ranch, Inc. and Plaintiffs Holben and the
Marston and Marion Holben Family Trust {through their operation
of Plaintiff Spear H. Ranch) are in compliance with Amendment E
under the family farm exception of Section 22(1}). Holben
purchases steers for the corporation in the springtime, has them
branded and vaccinated, and then pastures them on unimproved
ranch property in western South Dakota. T 250-53. Once on the
ranch, the cattle graze in the pasture for the summer. Day-to-
day labor is not required for this type of operation. T 257.
Holben generally oversees matters every week or two, sometimes

two or three times a week. T 258. He rides herd and checks toa
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make sure the steers are healthy. T 259, He and his wife
completely manage the operation. T 258. To the extent heavy
physical work is required, he hires the work done on behalf of
the corporation. T 259. Amendment E does not require that a
family member be present on a daily basis or be the sole
caretaker of the farm if the farming operation does not require
that level of activity. Simply put, not every farming operation
requires daily chores. The activities of Marston Holben qualify
Plaintiff Spear H. Ranch, Inc. under the family farm exception of
Section 22{1). No testimony was offered by Holben demonstrating
how Amendment E "harms" his operation.

The Plaintiff Utilities make several claims. First, they
make claims with respect to land at the Big Stone Power Plant.
The Complaint (and Dr. Brown's expert testimony) concern 552
acres of real estate adjacent to the Big Stone Power Plant that
the utilities owned previous to 1998. This property is currently
exempt under the grandfather clause of Section 22(4) of
Amendment E. This clause allows the current owners, the Big
Stone Partners (who own the land under a tenancy in common), to
continue to own this land and lease it to farmers so long as the
ownership interests of the Power Plant are not altered. The
Utilities claim that if the percentages of ownership within the
tenancy in common change, then "it would destroy the grandfather
which Amendment E offers." T 286. However, even if the new
plant is operated by an entirely different enterprise or by some

different configuration of tenants in common, there is no
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requirement that such new group would have to own the farmland or

farm the nearby land. T 304.

There is no evidence that the land would be for sale in the

near future. T 299. Indeed, the plant manager believes that it
is advisable to retain the property for future development, for
ash disposal, and for a buffer zone for the plant. T 299. If
the land was ever sold, it is marketable for purposes other than
farming. Due to its proximity to a rail line and good water
supply, various industrial projects have been proposed in the
past at this location. These projects have included an ethanol
plant and a processing plant called ProGold. T 299. Some land
is currently leased to an ethanol plant. T 300.

At trial, the Utilities raised a second issue regarding real
estate at the Big Stone Power Plant. The Big Stone Partners
recently purchased farmland near the existing plant. T 283. The
Utilities have initiated regulatory filings for approval of a new
plant at this location. T 283. The Big Stone Partners intend to
turn this land over to the new owners of Big Stone II, a group
that has not yet been formed. T 288, 289. They have also
purchased an option on additional land for the cooling pond for
this project. T 287, 306. None of this additional property
would be grandfathered under Amendment E. For these lands, the
Big Stone Partners must comply with Section 22(10), which permits
a corporation purchasing agricultural land for development
purposes to rent the land (to a family farmer) for no more than

five years. If the property is not developed within the five
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years, the corporation can no longer use it for agricultural
production.

Construction of the existing plant took only five years.

T 301. The current plant manager estimates construction of Big
Stone II may be complete as early as 2007. Construction itself
would take as many as four construction Seasons. T 304, Land
cannot be farmed when it is undergoing construction.

Construction on the new plant would necessarily begin within the
five-year period. A constitutional requirement that the farmland
must be taken out of production after five years would not be
burdensome if the land is already taken out of production for
construction purposes. This evidence does not demonstrate that
the Plaintiff Utilities are injured by Amendment E.

The Plaintiff Utilities also raised a claim concerning
easements for transmission lines. This issue is dependant upon
whether an easement is "an interest whether iegal, beneficial or
otherwise, in any real estate used for farming in this state."
Section 21. An easement is a servitude on land. SDCL 43-13-2.

It is "an interest in the land in the possession of another which

entitles the owner of such interest to a limited use or enjoyment
of the land in which the interest exists." Knight v. Madison,
2001 S.D. 120, | 4, 634 N.W.2d 540, 542 (emphasis added). The

South Dakota Supreme Court construed SDCL 43-13-5 which provides,
"The extent of a servitude is determined by the terms of the
grant, or the nature of the enjoyment by which it was acquired."

Neither the physical size nor the purpose or use to which an
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easement may be used can be expanded or enlarged beyond the terms
of the grant of the easement. Id.

The South Dakota Supreme Court examined a utility easement
in Musch v. H-D Electric Cooperative, Inc., 460 N.W.2d 149 (S.D.
1990). The court recognized that the easement is limited to the
use specified in the grant, and the remaining rights to use the
land lie with the grantor. 460 N.W.2d at 154. Thus, utility
easements are a legal interest limited to the use specified by
their easement: the placement of utility poles and wires. This
interest is not that contemplated by Amendment E, and the

Plaintiff Utilities are therefore not injured by Amendment E.

II. Plaintiffs Further Have Not Established That Amendment FE Is
Unconstitutional.

A. Commerce Clause Claims.
Plaintiffs contend that Amendment E deprives South Dakota of
"commonplace and established methods of doing business."

Exh. 47. The United States Supreme Court has refused to accept

this argument for commerce clause purposes. In Exxon Corporation
v, Governor of Maryland, 437 U.S. 117, 127 (1978), the Court held

that the commerce clause does not protect "the particular
structure of methods of operation" for businesses. Instead, it
protects interstate firms from prohibitive or burdensome
regulations. 437 U.S. at 127, 128. Moreover, the commerce
clause does not immunize corporations from regulation. Id.
Plaintiffs did not demonstrate that Amendment E establishes
deferential treatment, in favor of in-state regulated entities
and discriminating against out-of-state entities, between in-

state and out-of-state entities regulated by Amendment E. In
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fact, Plaintiffs contend that in-state regulated entities are
burdened by Amendment E more than out-of-state corporations and
Syndicates. For example, FB stated that Amendment E "actually
hurts South Dakota Farmers rather than protects them against out-
of-state competition." T 38. Although Plaintiff Brost asserted
that Amendment E treats residents differently from nonresidents,
he also stated that Amendment F "is a limiting factor on commerce
in South Dakota" and that it "significantly hurts South Dakota
farmers in many instances." T 101, 102. Plaintiff Brost is "not
claiming that Amendment E benefits South Dakota farmers to the
detriment of out-of-state farmers" from a "profit-making
perspective." T 100.

In-state economic hardship does not violate the commerce
clause. In Hampton Feedlot v. Nixon, 249 F.3d 814, 820-21 {8th
Cir. 2001), the court stated:

The Missouri Legislature has the authority to determine

the course of its farming economy, and this measure is

a constitutional means of doing so. We have no doubt

that the state considered the potential harm and

benefits to all stakeholders in creating its price

discrimination law. In the event that the implemented

statute adversely affects Missouri farmers or

consumers, appellees are free to petition the

legislature to amend or repeal the statute. Appellees

have asked us to strike Missouri's statute because it

burdens interstate commerce, but they have failed to

show how the measure has this unconstitutional effect.

Economic hardship experienced by Missouri feedlots does

not rise to the level of a dormant commerce clause

violation.

Plaintiffs attempted to prove that Amendment FE was premised
on a purpose of economic protectionism in violation of the

commerce clause, by submitting testimony of the subjective intent

of the drafters and minutes of the meetings of the drafters.
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This "subjective intent" evidence cannot be considered. Barket,

Levy & Fine v. St. Louis Thermal Energy, 21 F.3d 237, 241 (8th

Cir. 1994}. Instead, the issue to be examined is whether the
voters had constitutionally permissible reasons for passing
Amendment E. Evidence of constitutionally permissible rationale
is contained in the Pro-Con Statement (Exh. 19), the governmental
documents (Exhs. 501, 502), and academic research (Exh. 314;

T 232-42, 602-63). This type of "legislative history" also
includes publications that were placed before the voters,
including brochures produced against Amendment E (Exh. 305) and
press releases (Exhs. 107, 108, 109, 110}. The voters had before
them numerous discussions of the local interests involved in
Amendment E, and discussions of how Amendment E would affect
family farms.

The commerce clause balancing test set forth in Pike v.
Bruce Church, Inc,, 397 U.S. 137, 142 (1970) applies if a law
regulates evenhandedly and has only incidental effects on, and
does not overtly discriminate against, interstate commerce. The
evidence submitted at trial indicates that (at worst) Amendment Rk
evenhandedly applies to in-state and out-of-state entities, see
supra. Under the Pike test, the law will be stricken only if the
incidental effects it imposes upon interstate commerce are
"clearly excessive in relation to the putative local benefits,"
397 U.S. at 142,

The evidence demonstrates that the local benefit being
conferred by Amendment E is the prohibition of corporate

ownership of farms and farmland. See, €.g., Pro-con Statement,

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Exh. 19. Expert sociologists testified using different
approaches, and each approach demonstrated that industrialized
farming such as corporate farming (including production
contracting) caused detrimental effects in farm communities over
the long term.

Dr. Lobao reviewed thirty-eight studies that are
representative of the major sociological work regarding
industrialized farming’ and its effect on communities. T 455,
474. Dr. Lobao looked at studies that used four generally
accepted sociological methodologies: case study designs, macro-
social accounting designs, regional economic impact models, and
Surveys. Tf 457-59. The studies included those funded by the
United States government (T 463), as well as various private
studies. Over seventy-five percent of the studies showed that
industrialized farming caused some detrimental effects in the
communities involved. T 496; Exh. 314, Table 1. These
detrimental socioeconomic effects include income inequality and
corresponding social disruption, crime rates, lack of education
attainment, lower total community employment, and higher
unemployment rates. T 475. Detrimental effects on the social
fabric of the community include the decline in quality of local
governance, reduced enjoyment of property, lack of civic

participation, and social disruption. Exh. 314, at 16-17.

* Industrialized farming refers to farming where different groups
of people are engaged in management of the operation beyond just
a household situation. T 451.
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Sociologists have also found that industrialized farming causes
detrimental health effects. Exh. 314, at 16-17.

Secondly, Dr. Lobao testified regarding her own research on
socioeconomic wellbeing in various communities. T 464. She
compared small family, larger family, and industrialized farming.
T 454. Dr. Lobao found that the middle-sized family owned and
operated, locally controlled farms tended to be related to higher
quality of life in terms of sociceconomic well being. T 464.
Although there was not a clear-cut detrimental impact on an
immediate basis, she found a detrimental impact occurring over
time, such as a ten-year period. T 465.

Dr. Heffernan testified regarding production contracting, a
type of industrialized farming that is largely prohibited by
Amendment E. Production contracting is becoming more commonly
used in the hog business, but has been in use in the broiler
industry for decades. T 802. Although South Dakota is not a
large poultry producer, the experience in the broiler industry is
useful to analyze the possibilities in the heg industry (or other
livestock industries using production contracts in the future).

Dr. Heffernan testified regarding sociological effects of
production contracting in one Louisiana parish over thirty years.
T 803. This case study surveyed and conducted personal
interviews of broiler growers in 1969, 1981, and 1998. T 803.

In 1969 the parish was an impoverished area, and contract
production had been in place for about ten years. T 806, 810.
Contracts were issued by four different companies (integrators)

for terms long enough for the grower to pay off his capital

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investment (building, waste Management system, water supply).
T 810.

In 1981 the number of integrators had dropped to two.

T 813. Contracts were offered only for seven or eight weeks (the
time to feed a batch of broilers) rather than a period of years.
Tf 814. Growers had done well economically during the period from
1969 to 1981, but were still in debt for the broiler buildings.

T 815-16,

By 1999 there was one integrator. T 818. The number of
independent family farmers had decreased dramatically over the
thirty years, and the number of contract growers had doubled.

T 818. The contracts remained at a term of seven weeks, but
there was an inconsistent supply of broilers for the growers to
feed. T 820. Integrators were able to vary the supply of
broilers to meet market needs; growers sat with buildings empty
and a continuing debt load. T 820.

By 1399 this parish had the highest farm sales of any parish
in the state, yet was still a persistent poverty county. T 824,
Growers had made capital expenditures for the buildings, but were
unable to build collateral. 17 826. The integrators often
required the growers to make additional improvements. T 826.
Also, the growers never built up equity in the stock, although
the risk of death loss was theirs. T 827.

Further, poultry growers have no opportunity to become
independent producers. Due to the rise in production
contracting, the large corporations own ninety~five to ninety-

eight percent of the broilers at all stages of production and
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manufacturing. T 827. They do not buy broilers on the market,
and there is no independent market for broilers. As
Dr. Heffernan stated, "bird never sells." T 827.°

Poultry production in Louisiana is not an isolated example
of the asymmetrical position between the growers and integrators
in production contract situations. See, e.g., Crowell v.
Campbell Soup Company, 264 F.3d 756 (8th Cir. 2001) (broilers in

Minnesota) and Seegers v, Pioneer Hi-Bred International, Inc.,

997 F. Supp. 1124 ( N.D. Ind. 1998) (seed corn in Indiana).

Dr. Heffernan also testified regarding concentration among
processors in the food system. T 831. Because of increasing
concentration, farmers have fewer options to sell their product.
T 832.

Against this background, the Plaintiffs' claim that there is
no legitimate local benefit to Amendment E. From their
perspective, the best that can be said is that the corporate
farming issue is an area of intense debate. See USDA Reports "A
Time to Act" And "A Time to Choose." Exhs. 501, 502. Indeed,
Dr. Heffernan and Dr. Tweeten have been on point-counterpoint
panels regarding agricultural policy issues before a major USDA
conference and before FB leaders. T 797. The State itself has

engaged in this debate through the years. T 799.

* While there is an opportunity for direct neighborhood sales

(such as the sales by Hutterite Colonies in South Dakota} or
niche markets, those enterprises represent as little as 2 percent
of the broiler market nationwide. There are generally no plants
to process these broilers for independent firms. The Hutterite
Colonies, for example, process the broilers themselves and dell
the broilers themselves in local communities.

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This evidence clearly shows that the local benefits of
Amendment E outweigh its incidental effects on interstate
commerce. Plaintiffs did not sustain their burden of proving
that Amendment E violates the commerce clause.

B. Due. Process.

Plaintiffs appear to be arguing that their due process
rights were violated due to the "hasty" procedure involved in
enacting Amendment E through the initiative process. Yet,
legislative discussions to change the corporate farming laws
occurred during the winter of 1997 in the South Dakota
legislative session. T 47. Drafting of Amendment E itself
occurred from March to May of 1997, T 245. Amendment E was
based on a similar law in Nebraska and was not created whole
cloth. T 222. This procedure is not any shorter than that
followed in the South Dakota Legislature. The whole South Dakota
legislative session is only thirty-five to forty days. S.D.
Const. art, TII, §88 6. Further, the initiated measure was filed
one year in advance of the election as required by the South
Dakota Constitution, Article XXIII, Section 1.

Further, Plaintiffs participated in the public debate
(editorials, television debates, brochures) on Amendment E.

T 47, 48, 118-121, Exhs. 342, 305, 309. The "Vote No on &"
committee hired a political consultant experienced in statewide
election issues similar to this one. T 119. They also hired a

campaign coordinator, Deb Mortenson. Exh. 342.

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All of this procedure comports with due process
requirements. See Defendants Hazeltine and Barnett's Trial Brief
(hereinafter "State Trial Brief") at 26-28.

Plaintiffs also may be making a substantive due process
claim, although such was not pled. See State Trial Brief, at 23.
This claim is not actionable when explicit textual arguments can
be made under the Bill of Rights. See State Trial Brief, at 24;
Nicholas v. Pennsylvania State University, 227 F.3d 133, 143 n.3
(3d Cir. 2000).

Further, a legislative act will withstand a substantive due
process challenge if the State “identifies a legitimate state
interest that the legislature could rationally conclude was
served by the statute." Nicholas, 227 F.3d at 139 (quoting
Alexander v. Whitman, 114 F.3d 1392, 1403 (3d Cir. 1997) and
Sammon v.. New Jersey Bd. Of Medical Examiners, 66 F.3d 639, 645

(3d Cir. 1995)). A stricter scrutiny is applied to legislative
acts that burden certain fundamental rights. Id. Such
fundamental rights and liberties are "fundamental," "implicit in
the concept of ordered liberty," and such that "neither liberty
nor justice would exist if they were sacrificed." Palko v.
Connecticut, 302 U.S. 319, 325-26 (1937).

Plaintiffs here, however, have not made any claim that they
have fundamental rights burdened by Amendment E. Amendment E
does not prohibit the activity of farming by all business
entities, but only restricts farming activities from being
performed by corporations or limited liability syndicates. There

is no fundamental right to farm in the structure of a corporation
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or limited liability syndicate, particularly in light of the
rights of states to regulate corporations (see, e.g., Asbury

Hospital v. Cass County, 326 U.S. 207, 211-12 (1945); Exxon
Corporation, 437 U.S. at 127; Hawaii Housing Authority v.
Midkiff, 467 U.S. 229, 242 (1984).

It is clear that Amendment E is supported by and rationally
related to a legitimate state interest; gee supra. Therefore,
Amendment E does not violate Plaintiffs' substantive due process
rights.

Plaintiffs argue that Amendment E has limited their ability
to do estate planning. However, there is no fundamental
constitutional right to estate planning vehicles like
corporations or limited liability structures. See supra. This
is not a due process violation.

Plaintiffs also appear to be making an "interference with
contracts" due process claim; the only due process claim that can
be made with contracts is an “impairment of the obligations of

contracts" claim. The clause is implicated only when states

impose "substantial modifications of private contracts." Allied
Structural Steel Co, v. Spannaus, 438 U.S. 234, 241 & n.13, 244
(1978). In this situation, the grandfather provisions protect

existing contracts.
Indeed, no evidence was submitted at the trial indicating
that any existing contract of Plaintiffs' was affected at all.

Even Plaintiff Tesch's production contract® was not affected: it

* There was some discussion at trial about whether Tesch could

continue to accept new livestock under his existing production
{continued...}
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is valid for the term of the contract under Section 22(5) of
Amendment E. Tesch cannot renew his contract (supra). The
existing contract does not automatically renew. Section 3
provides that "parties will attempt a renewal." Therefore,
Tesch's alleged harm for building a sewage lagoon that
anticipated renewal of his contract does not warrant relief under
an impairment of that contract claim.

Plaintiff Aeschlimann also submitted a production contract
(Exh. 72). This contract was not terminated by Amendment E, as
it clearly was protected by the grandfather provision of
Section 22(5). Harvest States Cooperative rescinded the
contract, and Aeschlimann did not pursue any claim he may have
had for that recision. T 141, 142

Plaintiffs also advanced argument regarding forward
contracts; however, no Plaintiff with standing has presented a
forward contracting claim. But even so, forward contracts are
not covered by Amendment E. Section 21 applies only to
Situations where corporations acquire interests in real estate
used for farming or engage in farming. Farming is defined as the

ownership, keeping, or feeding of animals. Forward contracts,

{...continued)

contract. The terms of the production contract itself clearly
contemplate that livestock will continually be delivered to Tesch
throughout the term of the contract: gee Exh. 64, Section 2.4A,
which states "all pens shall be cleaned between groups of pigs,"
and Section 2.2, which states “owner agrees to refill facilities
within one week of the time the facility is emptied." Thus the
Gelivery of additional livestock during the term of Tesch's
production contract is grandfathered activity under Section 22(5)
of Amendment E.
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however, do not involve these activities; they do not transfer
ownership of animals or harvested crops while they are growing on
the farm. The risk of loss is taken by the farmer or rancher,
mot the packer. Therefore, the packer is not engaging in farming
when he enters into a forward contract, which is the argument
that the Plaintiffs have asserted.

It is noted that Plaintiffs attempt to support their
argument with their interpretation of Article XVII,

Section 22(15) which exempts "Livestock futures contracts,

livestock purchased for slaughter within two weeks of the
burchase date, or livestock purchased and resold within two
weeks." (Emphasis added.) They claim the two-week period
exempts only livestock contracted for purchase less than two
weeks before slaughter. However, under the rule of last
antecedent, the phrase "within two weeks!" clearly modifies the
words "for slaughter." American Meat Institute v Barnett 64 F.

Supp. 2d 906, 916 (D.S.D. 1999); Kaberna v. head Deadwood School

District, 438 N.W.2d 542, 543 (1989). This exemption pertains to

Situations where livestock is owned and fed by the packer itself
for up to two weeks. It does not address forward contracts;
forward contracts are not exempted here because they are not
barred by Amendment E in the first place.

Further, the Plaintiffs are not packers. They cannot make a
claim based on the legal rights of the packers in forward

contracts. Allen, 468 U.S. at 751.

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Cc. Equal Protection.

As Plaintiffs have admitted, there is no suspect class for
equal protection purposes involved herein. Plaintiffs have
argued that Amendment E establishes an irrational class
distinction between farmers and ranchers by the grandfather
clauses (Sections 22(4) and (5)), and by the alfalfa exemption in
Section 22(7). However, the evidence itself shows that farmers
and ranchers are not Similarly situated. Class distinctions can

be made between them. EST Realty v. Strickland, 830 F.2d 1107

(1ith Cir. 1987). Further, the equal protection clause "does not
guarantee economic equality." Barket. Levy & Fine, Inc., 21 F.3d
at 241.

Plaintiffs submitted evidence that Brost and Holben, because
of age and illness, cannot comply with the family farm exemption
of Amendment E. Section 22(1). Heightened review under the
equal protection clause is not warranted for age claims. Kimel
vw. Florida Board of Regents, _ U.S. — , 120 S.Ct. 631, 145

L.Ed.2d 522, 542 (2000); Weber v. Strippit, 186 F.3d 907, 911

{8th Cir. 1999).

The standard equal protection analysis applies: whether the
state law bears a rational relationship to some legitimate end.

Central State University v. American Association of University

Professors, 526 U.S. 124, 127-28 (1999); United States y. Mound,

149 F.3d 799, 801 (8th Cir. 1998), cert, denied, 525 U.S. 1089

(1999); Von Kerssenbrock-Praschma v. Saunders, 121 F.3d 373, 378

(8th Cir. 1997). See algo MSM Farms. Inc. v Spire, 927 F.2d

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330, 332, cert, denied, 502 U.S. 814 (1991) regarding Nebraska's
anticorporate farming constitutional provision.

The evidence at trial demonstrates that Amendment E bears a
reasonable relationship to a legitimate end. It therefore does
not violate the equal protection clause of the Constitution.

D. Americans With Disabilities Act.

The Court previously dismissed the Americans with
Disabilities Act claim filed by Plaintiffs. However, in a
December 12, 2001, Memorandum, the Court indicated that it may

reconsider its previous decision due to the recent decision in
Grey v. Wilburn, 270 F.3d 607 (8th Cir. 2001). However, only

Plaintiff Farm Bureau brought the ADA clain. (Original)

Complaint, para. 121. Plaintiff FB listed some concerns
regarding Amendment E, but submitted no evidence regarding any
disabled member. T 23-25,
The ADA has four titles, of which only Title II applies to
state government. Title II states:
No qualified individual with a disability shall, on the
basis of disability, be excluded from participation in
or be denied the benefits of the services, programs, or
activities of a public entity, or be subjected to
discrimination by any such public entity.

42 U.S.C. 12132.” Thus, in order to raise a claim under 42

U.S.C. 12132, the Plaintiffs must meet the definition of a

" There is a question as to whether the State's role is even a

"service, program, or activity" provided by the State within the
meaning of the ADA. Some courts would lean that way. Heather kK,
wi City of Mallard, Towa, 946 F. Supp. 1373, 1383 (N.D. Towa
1996); Crowder v, Kitagawa, 81 F.3d 1480, 1483 (9th Cir. 1996).
However, that question need not be answered here due to the lack
of standing and lack of a disabled individual.

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"qualified individual with a disability." This definition
appears at 42 U.S.C. 12102(2) as:

(A) A physical or mental impairment that substantially
limits one or more of the major life activities of
such individual;

(B) A record of such an impairment; or

(C) Being regarded as having such an impairment.

Heart disease even constitutes a physical impairment under

the ADA. Hilburn v. Murata Electronics North America, Ine., 181

F.3d 1220, 1227 (11th Cir. 1999). However, in order to be a
disability under the ADA, the physical impairment must
substantially limit one or more of the individual's major life
activities. Id; 42 U.S.C. 12102(2); 29 C.F.R. 1630.2({4);
Strippit, 186 F.3d at 913.

A limit on one type of job {such as farming) is not a
"substantially limiting impairment" contemplated under the ADA,

Taylor v. Nimock's O17] Co,, 214 F.3d 957, 960 (8th Cir. 2000).

Instead, the claimant must demonstrate the inability to work in a

broad range of jobs. Toyota Motor Manufacturing, Kentucky, Inc.

v.Williams, 2002 WL 15402 (Jan. 8, 20062); Sutton v. United
Airlines, 527 U.S. 471 (1999).

Physical limitations due to heart conditions are not a per
se disability covered by the ADA. Strippit, 186 F.3d at 914.
Moderate limitations on major life activities caused by some
restrictions on physical labor do not constitute a "disability."
Strippit, 186 F.3d at 914.

Plaintiffs here have shown no disability protected by the

ADA. Three Plaintiffs (Brost, Sjovall, and Holben) presented

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some evidence of heart disease. However, the ADA claim filed in
the Complaint was not made by these parties. They all testified
generally that they had heart disease that limits the types of
physical labor they can perform. T 58, 198, 255. However, they
did not establish that the nature, duration, and long-term
medical problems of their heart disease caused them to be
substantially limited in a major life activity, and, therefore,
they have not demonstrated that they are within the class of
disabled persons protected by the ADA.

E. 42 U.S.C, § 1983.

Plaintiffs! 42 U.S.C. § 1983 claim is premised upon the
constitutional claims raised in this suit. There is no
independent action taken by Defendants on which the 42 U.S.c.
1983 claim is based. As Plaintiffs' constitutional claims fail,
so must their 42 U.S.C. 1983 claim.

Dated this 8th day of February, 2002.

Respectfully submitted,

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